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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION

IN RE:                                        )
                                              )
PRECISION PIPING AND                          )
MECHANICAL, INC., a/k/a PPMI                  )       CASE NO. 17-70785-BHL-7A
CONSTRUCTION COMPANY (PPMI),                  )
                                              )
                       Debtor.                )

                    AGREED MOTION FOR AUTHORITY TO
          DISTRIBUTE PROCEEDS TO SECURED OR PRIORITY CREDITORS

         Trustee, Stacy M. Wissel (the “Trustee”), First Federal Savings Bank (the “Bank”),

Precision Piping and Mechanical, Inc. (the “Debtor”) and Hanover Insurance Company

(“Hanover”), each by counsel, request the entry of an order authorizing and directing the Trustee

and the Debtor to distribute certain proceeds to the Bank and Hanover as more specifically set

forth herein:

                                       I. BACKGROUND

         1.     The Debtor filed its voluntary petition on August 2, 2017.

         2.     The Bank made loans (collectively, the “Loans”) to the Debtor and/or Scott Jones

pursuant to the terms and conditions of certain Business Loan Agreements dated February 18,

2016, May 3, 2017 and May 19, 2017. The Loans are secured by, among other things, all of the

Debtor’s personal property including, but not limited to, accounts, equipment, inventory, and

general intangibles (collectively, the “Assets”).

         3.     Hanover issued payment and performance bonds to the Debtor for certain

construction projects (collectively, the “Bonded Projects”).

         4.     On August 21, 2017, the Court issued an order authorizing the sale of certain of the

Debtor’s Assets consisting of fabricated steel to Skanska for a purchase price of $9,500.00 (the
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“Skanska Proceeds”) [Doc 31]. The order directed the payment of the Skanska Proceeds to the

Bank [Doc 31].

        5.      On October 30, 2017, the Bank, Hanover, and certain other parties entered into a

Settlement Agreement and Release (the “Settlement Agreement”). The Settlement Agreement,

among other things, resolved disputes among Hanover and the Bank with respect to the identity

of, and the rights of priority in, certain of the Debtor’s Assets, including:

                i.     All Assets of the Debtor located on, purchased for or related to the Bonded
                       Projects;

                ii.    The proceeds of Check No. 013097 issued by Vincennes Water Utilities to
                       the Debtor on July 21, 2017 in the amount of $112,323.29 (the “Vincennes
                       Proceeds”); and

                iii.   All Assets of the Debtor located on, purchased for or related to the
                       construction projects of the Debtor that are not bonded by Hanover (the
                       “Non-Bonded Projects”).

        6.      The Court approved an agreed entry on November 14, 2017 that abandoned the

Debtor’s Assets, with the exception of the vehicles being administered by the estate [Doc 139].

                                    II. REQUESTED RELIEF

        7.      The Trustee and the Debtor are holding proceeds from certain of the Debtor’s

Assets in estate and Debtor bank accounts in which either the Bank or Hanover hold a secured or

priority interest.

        8.      By this motion, the parties request that the Court direct the Trustee and the Debtor

to pay to Hanover and the Bank the following proceeds from the Debtor’s Assets in the following

amounts:

                         Asset                                  Amount             Recipient

 Vincennes Proceeds                                       $20,823.29            Hanover

                                                          $91,500,00            Bank



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 Proceeds from Bonded Project                           $92,860.00            Hanover
 (Town of Newburgh Deaconess Force Main)

 Proceeds from Non-Bonded Project                       $12,858.82            Bank
 (Evansville Water & Sewer Utility)

 Proceeds from Non-Bonded Project                       $4,175.91             Bank
 (Evansville Water & Sewer Utility)

 Proceeds from Non-Bonded Project                       $16,163.68            Bank
 (Evansville Water & Sewer Utility)

 Proceeds from Non-Bonded Project                       $593.81               Bank
 (Evansville Water & Sewer Utility)

 Skanska Proceeds                                       $9,500.00             Bank

 Proceeds from Non-Bonded Project                       $10,407.42            Bank
 (Enerfab Power & Industrial)

 TOTALS:                                                BANK                  HANOVER
                                                        $145,199.64           $113,683.29



       9.      As set forth above, the Trustee and the Debtor request authority to distribute out of

the estate and Debtor bank accounts the amount of $145,199.64 payable to the Bank and the

amount of $113,683.29 payable to Hanover.

       WHEREFORE, based upon the foregoing, the parties hereto request entry of an order

authorizing and directing the Trustee and the Debtor to distribute the proceeds in the amounts set

forth above to the Bank and Hanover and for all other just and appropriate relief.




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STIPULATED AND AGREED TO BY:


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 5, 2017 a copy of the foregoing was filed electronically.
Notice of this filing will be sent to the following party/parties through the Court’s Electronic Case
Filing System. Party/parties may access this filing through the Court’s system:

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